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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

 TODD YUKUTAKE and DAVID           )
 KIKUKAWA                          )
                                   )
 Plaintiffs,                       )
                                   ) Civil Action No. 19-578 (JMS-RT)
 v.                                )
                                   )
 CLARE E. CONNORS, in her          ) MEMORANDUM IN SUPPORT OF
 Official Capacity as the Attorney ) PLAINTIFFS’ MOTION FOR
 General of the State of Hawaii    ) SUMMARY JUDGMENT
 and the CITY and COUNTY           )
 OF HONOLULU                       )    TRIAL: January 12, 2021 9AM
                                   )    JUDGE: Hon. J. Michael Seabright
                                   )    HEARING DATE: N/A
 Defendants.                       )
 _______________________________)
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        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                     SUMMARY JUDGMENT

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    I.      Introduction

         Come now Todd Yukutake and David Kikukawa (“Plaintiffs”), and in support

 of their Motion for Summary Judgment, file this Memorandum in Support. Plaintiffs

 challenge Hawaii law to the extent that it 1) requires firearms to be brought to the

 police station to be registered and 2) that permits to acquire handguns expire ten days

 after issuance. An identical bring-your-gun-to-the-station requirement was already

 struck down by the D.C. Court of Appeals in Heller v. Dist. of Columbia, 801 F.3d

 264, (D.C. Cir. 2015) (Heller III). This Court should follow that Court’s precedent

 here. For the reasons set out below, both requirements are insufficiently tailored to

 survive any applicable level of scrutiny and should be struck as violative of the

 Second Amendment.

         Plaintiffs filed their verified complaint on October 24, 2019 [Docket No. 1].

         a. Plaintiff Todd Yukutake

         Plaintiff Todd Yukutake (“Yukutake”) is a native Hawaiian and currently

 resides on the island of Oahu. [Id. at ¶¶ 49-50]. Yukutake is an honorably retried

 Army Captain after twenty years of service in the Army National Guard. [Id. at ¶

 51]. Yukutake is employed as an armed protective security officer for a company

 which contracts with the federal government and he guards federal property. [Id. at

 ¶¶ 52-54]. Yukutake is unable to take personal firearms onto federal property and

 typically parks on federal property. As such, in order to register a new firearm,
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 Yukutake must take time off work, drive home to retrieve the firearm, drive to

 Honolulu Police Department [HPD] to register it, drive back home to secure the

 firearm, then drive back to work. [Id. at ¶ 54].

          Yukutake is also a firearms instructor and currently legally owns handguns.

 [Id. at ¶¶ 55-56]. Yukutake routinely works during the time that HPD’s Firearms

 Unit Office is open. [Id. at ¶¶ 57]. Yukutake plans on purchasing additional

 handguns in the near future and will be required to take additional time off work in

 order to do so. [Id. at ¶¶ 60-61]. Yukutake is not a prohibited person and does not

 use illegal drugs or abuse alcohol. [Id. at ¶¶ 64-66].

          b. Plaintiff David Kikukawa

          Plaintiff David Kikukawa (“Kikukawa”) is employed as a Diver Medic and

 Lead Systems Operator for an emergency medical and critical care facility. In order

 to bring a firearm to HPD for registration during a workday, Kikukawa must take

 time off work, drive home to retrieve the firearm, drive to HPD to register the

 firearm, drive back home to secure the firearm and then drive back to work. [Id. at

 ¶ 69].

          Kikukawa currently legally owns handguns. [Id. at ¶ 70]. Kikukawa routinely

 works during the time that HPD’s Firearms Permit Unit Office is open and he must

 take time off of work to purchase and register handguns. [Id. at ¶¶ 71-72]. Kikukawa

 states that it is often difficult for him to take off from work and when he does, he


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 either has to use personal time or a vacation day to take off. [Id. at ¶ 73]. Kikukawa’s

 position as a Diver Medic requires that he be on call for emergencies and maintain

 a thirty-minute response time to the hospital where he works. These emergencies

 may make it impossible to register his newly purchased handgun within the time

 constraints that HPD requires. [Id. at ¶ 74].         Kikukawa plans on purchasing

 additional handguns in the near future and will be required to take additional time

 off work to do so. [Id. at ¶¶ 75-76]. Kikukawa is not a prohibited person and does

 not abuse alcohol or use drugs. [Id. at ¶¶ 77-79].

    II.       Legal Standard

           Summary judgment is proper where there is no genuine issue of material fact

 and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

 Rule 56(a) mandates summary judgment “against a party who fails to make a

 showing sufficient to establish the existence of an element essential to the party's

 case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

 v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); see also

 Broussard v. Univ. of Cal. at Berkeley, 192 F.3d 1252, 1258 (9th Cir. 1999). See

 Fed. R. Civ. P. 56(a).

    III.      Hawaii Law

           H.R.S. § 134-2(e) provides, in relevant part, that: “Permits issued to acquire

 any pistol or revolver shall be void unless used within ten days after the date of issue.


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 Permits to acquire a pistol or revolver shall require a separate application and permit

 for each transaction.” With regard to long guns, “Permits issued to acquire any rifle

 or shotgun shall entitle the permittee to make subsequent purchases of rifles or

 shotguns for a period of one year from the date of issue without a separate application

 and permit for each acquisition…”

       H.R.S. § 134-3(b) provides, in relevant part, that: “Every person who acquires

 a firearm pursuant to section 134-2 shall register the firearm in the manner prescribed

 by this section within five days of acquisition. The registration shall be on forms

 prescribed by the attorney general, which shall be uniform throughout the State, and

 shall include the following information: name of the manufacturer and importer;

 model; type of action; caliber or gauge; serial number; and source from which receipt

 was obtained, including the name and address of the prior registrant.”

       H.R.S. § 134-3(c) provides that “Dealers licensed under section 134-31 or

 dealers licensed by the United States Department of Justice shall register firearms

 pursuant to this section on registration forms prescribed by the attorney general and

 shall not be required to have the firearms physically inspected by the chief of police

 at the time of registration.”

    IV.    Argument

    a. Strict Scrutiny Applies to Both Requirements




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       The Ninth Circuit “along with the majority of our sister circuits, has adopted

 a two-step inquiry in deciding Second Amendment cases: first, the court asks

 whether the challenged law burdens conduct protected by the Second Amendment;

 and if so, the court must then apply the appropriate level of scrutiny.” See Silvester

 v. Harris, 843 F.3d 816, 820-821 (9th Cir. 2016). “In the first step, we ask ‘whether

 the challenged law burdens conduct protected by the Second Amendment,’ [United

 States v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013)], based on a ‘historical

 understanding of the scope of the [Second Amendment] right,’ Heller, 554 U.S. at

 625, or whether the challenged law falls within a ‘well-defined and narrowly limited’

 category of prohibitions ‘that have been historically unprotected,’” See Jackson v.

 City & County of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014). If the challenge

 survives the first step, the next step is to determine the appropriate level of scrutiny.

 “In ascertaining the proper level of scrutiny, the court must consider: (1) how close

 the challenged law comes to the core of the Second Amendment right, and (2) the

 severity of the law's burden on that right.” Id. at 960-61.

       “The result is a sliding scale. A law that imposes such a severe restriction on

 the fundamental right of self defense of the home that it amounts to a destruction of

 the Second Amendment right is unconstitutional under any level of scrutiny. Id. at

 961. That is what was involved in District of Columbia v. Heller, 554 U.S. 570,

 628-629, 128 S. Ct. 2783 (2008). A law that implicates the core of the Second


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 Amendment right and severely burdens that right warrants strict scrutiny. See

 Chovan, 735 F.3d at 1138. Otherwise, intermediate scrutiny is appropriate. “[I]f a

 challenged law does not implicate a core Second Amendment right, or does not place

 a substantial burden on the Second Amendment right, the court may apply

 intermediate scrutiny.” Silvester, 843 F.3d at 821. “Indeed, in Chovan, we applied

 ‘intermediate’ rather than ‘strict’ judicial scrutiny in part because section 922(g)(9)’s

 ‘burden’ on Second Amendment rights was ‘lightened’ by those mechanisms.”

 Fisher v. Kealoha, 855 F.3d 1067,1071 (9th Cir. 2017).

       Here, strict scrutiny should apply to both laws because they both implicate a

 core Second Amendment right and impose a substantial burden Plaintiffs’ Second

 Amendment rights. Regardless of whether this Court “implements an ‘important

 government objective’ (intermediate scrutiny) or a ‘compelling state interest’ (strict

 scrutiny)”, these laws are “neither ‘substantially related’ nor ‘narrowly tailored’ to

 such interests.” Fotoudis v. City & County of Honolulu, 54 F. Supp. 3d 1136, 1144

 (D. Haw. 2014).

    b. The Ten-Day Expiration of the Permit to Acquire Handguns is
       Unconstitutional

       It is important to note that the issue here is the Permit to Acquire a handgun.

 As the Supreme Court stated, “… the American people have considered the handgun

 to be the quintessential self-defense weapon.” District of Columbia v. Heller, 554

 U.S. 570, 629, 128 S. Ct. 2783, 2818 (2008). While not a ban on the possession

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 inside the home like the Heller case, Hawaii’s law imposes substantial burdens on

 the core right secured by the Second Amendment.

       Hawaii’s ten-day expiration period for permits to acquire handguns is within

 the scope of the Second Amendment because there is no historical evidence that

 demonstrates otherwise, and the law directly burdens Plaintiffs’ ability to acquire a

 handgun. This law appears to have been enacted in 1988.1 In Silvester v. Harris,

 the Ninth Circuit reviewed and ultimately upheld, California’s ten-day waiting

 period to purchase a firearm and assumed intermediate scrutiny applied. The Ninth

 Circuit upheld the waiting period because the purpose of the waiting period was to

 provide a “cooling-off period to deter violence resulting from impulsive purchases

 of firearms” and was sufficiently tailored to the government’s interest of public

 safety. Silvester v. Harris, 843 F.3d 816, 829 (9th Cir. 2016). The instant case is

 distinguishable. They already must undergo a 14-day waiting period pursuant to

 Hawaii law. See H.R.S. 134-2. Unlike the waiting period in Silvester, the ten-day

 requirement to use a permit to acquire does not further any public safety interest

 because the applicants have already been vetted and cleared under the 14-day

 waiting period/background check. Instead, invalidating an otherwise valid permit




 1
  https://advance.lexis.com/api/permalink/e5b2bc4c-59ff-4f6d-b455-
 3dbc05ccece3/?context=1000516 (last accessed 7/13/2020).
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 on an arbitrary timeline creates a substantial burden on Plaintiffs’ Second

 Amendment rights.

       Strict scrutiny applies when a law causes a “substantial burden” on a litigant’s

 Second Amendment rights. See Silvester, 843 F.3d at 827. Here, the law is a

 substantial burden on Plaintiffs’ Second Amendment rights as Plaintiffs are required

 to take time off work to make their firearms purchase in quick succession after they

 have already taken several other days off work to obtain the permit to acquire and

 after they have already waited 14 days for the waiting period/background check.

 This Court should strike Hawaii’s law because it does not survive strict scrutiny.

       But even under intermediate scrutiny, the law is unconstitutional. The

 intermediate scrutiny test under the Second Amendment requires that “(1) the

 government’s stated objective . . . be significant, substantial, or important; and (2)

 there . . . be a ‘reasonable fit’ between the challenged regulation and the asserted

 objective.” Silvester v. Harris, 843 F.3d 816, 821-22 (9th Cir. 2016) (quoting United

 States v. Chovan, 735 F.3d at 1139). Under intermediate scrutiny, the government

 must “demonstrate that the recited harms are real, not merely conjectural, and that

 the regulation will in fact alleviate these harms in a direct and material way.” Turner

 Broadcasting System, Inc. v. FCC, 512 U.S. 622, 664 (1994) (plurality opinion)

 (“Turner I”). Those precise words have commanded majorities in numerous




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 decisions. E.g., Rubin v. Coors Brewing Co., 514 U.S. 476, 487 (1995); United

 States v. National Treasury Employees Union, 513 U.S. 454, 475 (1995).

       The stated government interest is to “ensure[] that a person’s qualifications

 for owning a firearm are legitimate at the time of purchase and the information is not

 stale. An example is if someone gets a permit but does not use it, and a month late

 commits a felony and is charged. Without an expiration date, that person could let

 a registered firearm be seized and then use the permit to purchase another firearm.”

 See Defendant’s Responses to Interrogatories, No. 9, Exhibit “A”. Yet if this were

 the case, as described more fully below, then permits to acquire long guns would

 expire in 10 days as well. Because the ten-day handgun permit to acquire expiration

 date substantially burdens Plaintiffs’ Second Amendment rights, it fails heightened

 scrutiny.

    c. Hawaii’s Ten-Day Expiration for Permits to Acquire Handguns is
       Underinclusive

       Under inclusivity is a doctrine that can be used to determine whether a law is

 properly tailored. In constitutional law, under inclusivity follows necessarily from

 the evaluation of a fit between means and ends. See Lorillard Tobacco Co. v. Reilly,

 533 U.S. 525, 556 (2001); Fla. Bar v. Went For It, Inc., 515 U.S. 618, 632 (1995);

 Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469, 480 (1989)). The assessment

 of fit looks to the relation between the class that comes within the scope of the

 regulation’s stated objective, and the class actually affected by the regulation. See,

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 e.g., Jospeh Tussman and Jacobus tenBroek, The Equal Protection of the Laws, 37

 Cal. L. Rev. 341 (1949). Under this standard, what matters is not whether a

 regulation is specifically overinclusive, but rather by how much it is either over- or

 underinclusive. See, e.g., City of Cincinnati v. Discovery Network, Inc., 507 U.S.

 410, 428 (1993) (holding a city ordinance intended to advance safety and aesthetic

 interests unconstitutional because it unjustifiably affected only a small fraction of

 operating news racks, thus constituting an unreasonable fit between ends and

 means). See also Parents for Privacy v. Barr, 2020 U.S. App. LEXIS 4503, *53

 (“Underinclusiveness is determined with respect to the burdens on religious and non-

 religious conduct and the interests sought to be advanced by the policy”). In this

 Circuit, when applying intermediate scrutiny, if the exceptions to the law are “so

 pervasive or without basis as to make the fit unreasonable” it is unconstitutionally

 underinclusive. Pena v. Lindley, 898 F.3d 969, 981, 2018 U.S. App. LEXIS 21565,

 *23, 2018 WL 3673149.

       Here, the law is underinclusive because permits to acquire long guns (rifles

 and shotguns, see H.R.S. § 134-2(e)) are valid for one year but permits to acquire

 handguns are valid only for ten days. There is no legitimate reason or basis in

 making a long gun permit to acquire one year and a handgun permit to acquire for

 ten days. Whatever government interest there might be in one is the same as for the

 other. The State’s response to an interrogatory demonstrates the ill fit of this


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 requirement. Plaintiffs asked the State to “explain in detail how mandating a permit

 to acquire a handgun becomes void if ‘not used within ten days after the date of

 issue’ further[s] a governmental interest.” The Defendant’s response was that it

 “ensures that a person’s qualifications for owning a firearm are legitimate at the time

 of purchase and the information is not stale. An example is if someone gets a permit

 but does not use it, and a month late commits a felony and is charged. Without an

 expiration date, that person could let a registered firearm be seized and then use the

 permit to purchase another firearm.” See Defendant’s Responses to Interrogatories,

 No. 9, Exhibit “A”.

       But the Defendant completely ignores the differing treatment of long guns and

 handguns. Plaintiffs sought out this information in another interrogatory, asking the

 Defendant to “describe the difference in permits to acquire long guns and handguns”

 and to explain “why permits to acquire long guns are valid for one year and multiple

 long guns, but permits to acquire handguns are valid for ten days and one handgun.”

 Defendant merely objected to the interrogatory and claimed that it would not “lead

 to the discovery of admissible evidence.”           See Defendant’s Responses to

 Interrogatories, No. 13, Exhibit “A”. In short, there is no real difference and they

 should not be treated differently. The ten-day expiration of handgun permits to

 acquire is an arbitrary number and unsupported by any evidence.




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       Further, Defendant’s purported justification is belied by current State law

 requiring purchasers of firearms to be entered into an FBI database for “constant

 criminal record monitoring.” HRS § 846-2.7(b)(43) provides authority for “The

 county police departments on applicants for permits to acquire firearms pursuant to

 section 134-2 and on individuals registering their firearms pursuant to section 134-

 3…” to enter firearm purchasers in “rap back”.2 Rap back is a “service of the [FBI]

 that provides continuous criminal record monitoring … and notifies them when an

 individual subject to a criminal history record check is arrested for a criminal offense

 anywhere in the country. This notification will allow county police departments in

 Hawaii to evaluate if the owner of a firearm may continue to legally possess and

 own firearms.” See Exhibit “B”, p. 1 (SB 2954, signed into law on 6/22/2016).3

       In other words, if the Defendant’s stated interest in blocking a person from

 using a permit after committing a felony, it is unnecessary and an additional

 unjustifiable burden because Hawaii’s rap back provides the same “service”. Rap

 back would constantly monitor the criminal records of the gun owner and notify the

 proper authorities if the owner became prohibited. As such, the government interest



 2
  HRS § 846-2.7(a) explicitly mandates that these individuals participate in the “rap
 back program”.
 3

 https://www.capitol.hawaii.gov/Archives/measure_indiv_Archives.aspx?billtype=
 SB&billnumber=2954&year=2016 (last accessed July 13, 2020).
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 in having a ten day expiration on handguns permits does not fit at all with Hawaii’s

 stated interest or their ability to register their gun owners on a national database and

 have “constant criminal record monitoring”.

       Defendant’s other briefly stated interest, of having information that isn’t

 “stale”, doesn’t hold any water either. The person’s “qualifications” is that he or she

 isn’t a prohibited person and that he or she has completed (at any time prior to the

 issuance of the permit):

               (1) An approved hunter education course as authorized under
       section 183D-28;
               (2) A firearms safety or training course or class available to the
       general public offered by a law enforcement agency of the State or of
       any county;
               (3) A firearms safety or training course offered to law
       enforcement officers, security guards, investigators, deputy sheriffs, or
       any division or subdivision of law enforcement or security enforcement
       by a state or county law enforcement agency; or
               (4) A firearms training or safety course or class conducted by a
       state certified or National Rifle Association certified firearms instructor
       or a certified military firearms instructor that provides, at a minimum,
       a total of at least two hours of firing training at a firing range and a total
       of at least four hours of classroom instruction, which may include a
       video, that focuses on:
               (A) The safe use, handling, and storage of firearms and firearm
       safety in the home; and
               (B) Education on the firearm laws of the State.
               An affidavit signed by the certified firearms instructor who
       conducted or taught the course, providing the name, address, and phone
       number of the instructor and attesting to the successful completion of
       the course by the applicant shall constitute evidence of certified
       successful completion under this paragraph.




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 See HRS § 134-2(g). Nowhere in this section does it state these qualifications expire.

 As such, Defendant’s interest in not having “stale” information doesn’t make sense

 because this information doesn’t go “stale”. And, as already stated, if Defendant is

 worried about a permit being used to acquire a firearm after the person becomes

 prohibited, then rap back covers that already. And in any event, it completely

 ignores how long gun permits are treated as they are valid for one year and can be

 used multiple times to purchase multiple long guns. Further, H.R.S. § 134-2(e)

 mandates that “if a permittee is arrested for committing a felony or any crime of

 violence or for the illegal sale of any drug, the permit shall be impounded and shall

 be surrendered to the issuing authority.” There is simply no fit here for the purported

 interest.

        Here, the law at issue bears striking similarities to NYSRPA v. NYC, 140 S.Ct.

 1525 (2020). There, a majority of the Court vacated as moot a decision upholding a

 New York City ordinance that restricted the scope of Second Amendment, with four

 Justices of the Court (three dissenters lead by Justice Alito and Justice Kavanaugh

 in concurrence), writing separately to explain why lower court’s Second

 Amendment analysis was error. The dissent found it is not a reasonable fit to allow

 people to travel on a road to in-City ranges but not on the same road to ranges outside

 the City.




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 d.    The In-Person Registration is Unconstitutional

       The in-person registration requirement is found in H.R.S. § 134-3. While the

 statute is not a model of clarity, subsection (c) exempts “dealers” from the

 requirement to “have the firearms physically inspected by the chief of police at the

 time of registration.” As such, all non-dealers, (like the Plaintiffs) are required to

 register their firearms in-person with the chief of police.4 The in-person registration

 requirement is not sufficiently tailored to survive either strict or intermediate

 scrutiny. The permit to acquire requires the make, model, serial number, and other

 identifying marks on the firearm. See H.R.S. § 134-2(f).5 A registrant would provide

 that information correctly to ensure the accuracy of the registration certificate, which

 protects the person from arrest for an unregistered firearm. Hawaii is an outlier state



 4
  See also Defendant’s Response to Request for Admission No. 4: “Please admit that
 Hawaii state law does not require in-person handgun registration after purchase of a
 handgun.” Response: “Defendant denies this request.” See Exhibit “D”. See also
 Exhibit “A”, Defendant’s Response to Interrogatories, No. 5.
 5
   “In all cases where a pistol or revolver is acquired from another person within the
 State, the permit shall be signed in ink by the person to whom title to the pistol or
 revolver is transferred and shall be delivered to the person who is transferring title
 to the firearm, who shall verify that the person to whom the firearm is to be
 transferred is the person named in the permit and enter on the permit in the space
 provided the following information: name of the person to whom the title to the
 firearm was transferred; names of the manufacturer and importer; model; type of
 action; caliber or gauge; and serial number, as applicable. The person who is
 transferring title to the firearm shall sign the permit in ink and cause the permit to be
 delivered or sent by registered mail to the issuing authority within forty-eight hours
 after transferring the firearm.” H.R.S. 134-2(f).
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 as it is the only state left with this requirement as Michigan repealed a similar

 requirement for handguns, and that law aimed only to allow for “safety inspections”

 rather than crime control. 2008 Mich. Pub. Acts No. 195 (2008) (repealing Mich.

 Comp. Laws § 28.429).

       The Defendant has not provided any evidence that in-person registration is

 required to promote any real government interest. The Defendant’s only proffered

 justification is that “[i]n-person handgun registrations can prevent fraud and reduce

 or eliminate discrepancies.”6 See Response to Interrogatories, No. 6, Exhibit “A”.

 The Defendant was specifically asked in Plaintiffs’ Request for Production of

 Documents to “Produce all documents that support Hawaii’s interest in maintaining

 an in-person registration of handguns.” The State responded as follows: “Discovery

 is ongoing. Defendant will supplement her responses as appropriate in accordance

 with applicable court rules.” See Responses to Plaintiffs’ Request for Production of

 Documents, No. 10, Exhibit “C”.

       What in-person registration also does, as alleged in the Verified Complaint, is

 cause a hardship on plaintiffs such as Plaintiff Yukutake by mandating that he takes

 off work on an additional day to get the firearm registered, and if he misses that day,

 or if it were to fall on a day the police department is closed for registration, then he



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   But, the response does not say that it “does” prevent fraud and reduce
 discrepancies, only that it “can”.
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 could be in violation of the law by not registering the firearm in person. See

 Complaint, ¶¶ 32-35.

       The District of Columbia also offered no real justification for the in-person

 requirement, which created the “risk that the gun may be stolen en route or that the

 person may be arrested or even shot by a police officer seeing a man with a gun (or

 a gun case).” Heller v. Dist. of Columbia, 801 F.3d 264, 277 (D.C. Cir. 2015) (Heller

 III). The District of Colombia’s in-person registration requirement was struck as

 violating the Second Amendment. In the District of Columbia’s former code, it

 stated that “[t]he Metropolitan Police Department (MPD) can require a potential

 registrant to present his firearm for inspection. D.C. Code § 7-2502.04(c).” Heller,

 at 285.

       The MPD wanted to conduct a physical inspection to “verify that the

 application information is correct and that the firearm has not been altered.” Id. The

 D.C. Circuit struck this requirement as violative of the Second Amendment.

 “[C]ommon sense suggests a person would not go to the trouble of obtaining a

 registration certificate for a weapon other than a weapon in his possession. On the

 contrary, common sense suggests that bringing firearms to the MPD would more

 likely be a threat to public safety; as Heller maintains, there is a ‘risk that the gun

 may be stolen en route or that the [would-be registrant] may be arrested or even shot

 by a police officer seeing a 'man with a gun' (or a gun case).” Heller, at 277. For


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 the same reasons, the State’s requirement that Plaintiffs and other similarly situated

 individuals bring their handguns to the station to register them violates the Second

 Amendment.

         This Court should also rule in favor of Plaintiffs because to do otherwise

 would mean a lack of uniformity in the case law of the nation. In the past, the Ninth

 Circuit has warned against creating circuit splits and is “hesitant to create such a

 split, and we do so only after the most painstaking inquiry…” Zimmerman v. Oregon

 Dept. of J., 170 F.3d 1169, 1184 (9th Cir. 1999). The same reasoning should apply

 to a District Court. The people of Hawaii should be afforded the same rights as the

 people of the District of Colombia

         In sum, requiring a person to bring the firearm to their police station does

 nothing to reduce crime, protect police officers or increase public safety.

    V.      Conclusion

         Plaintiffs respectfully request that the Court grant their Motion for Summary

 Judgment and enter judgment in their favor, holding that the requirements of in-

 person registration and the ten day expiration of permits to acquire handguns violate

 the Second Amendment to the United States Constitution.

         Certification Pursuant to LR7.8

         This motion is made following the conference of counsel pursuant to LR7.8

 which took place on July 13, 2020.


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             Dated: July 20, 2020


                               /s/ Alan Alexander Beck
                               Alan Alexander Beck

                               /s/ Stephen D. Stamboulieh
                               Stephen D. Stamboulieh
                               *Admitted Pro Hac Vice

                               Attorneys for Plaintiffs




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